                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In the Matter of:                                    )
                                                     )          Case No. 19-81991
In The Wind, LLC                                     )
 EIN: xx-xxX-5230                                    )          Chapter 11
                                                     )
Debtor                                               )

                    MOTION FOR AUTHORIZATION TO USE CASH COLLATERAL

        COMES NOW In The Wind, LLC, as debtor-in-possession in the above-styled Chapter 11 case
("Debtor"), and requests this Court for authorization to use cash collateral. In support of this Motion,
Debtor states as follows:
                                   JURISDICTION AND VENUE
   1. This Court has jurisdiction over this Chapter 11 case under 28 U.S.C. §§ 157 and 1334. This is a
core proceeding under 28 U.S.C. § 157(b). Venue is proper in this district under 28 U.S.C. §§ 1408 and
1409.
   2. The statutory bases for the relief this Motion seeks are Bankruptcy Code §§ 105(a), 363(b), and
507(a)(4) and (5) and Bankruptcy Rules 6003 and 6004.
                                           BACKGROUND
   3. In The Wind, LLC, is an Alabama Limited Liability Company with its principal place of
business at 40 County Road 1199, Cullman, Alabama, 35057.
   4. Debtor is engaged in the business of over the road trucking.
   5. On July 1, 2019 (the "Petition Date"), Debtor filed a voluntary petition in this Court under
Chapter 11 of the United States Code, 11 U.S.C. § 101 et seq. (the "Bankruptcy Code"). A Trustee has
not been appointed and Debtor continues to operate its business as a debtor-in-possession pursuant
to §§ 1107 and 1108 of the Bankruptcy Code.
   6. No official committees have been appointed in this case. No party has requested the
appointment of a trustee or an examiner.
   7. Debtor plans to continue to operate its business and manage its business as a debtor in
possession under §§ 1107(a) and 1108 of the Bankruptcy Code. Through the filing of this Chapter 11
petition, Debtor seeks to accomplish a successful reorganization of its business, which will allow
Debtor post-confirmation to continue to operate its business.




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                                         RELIEF REQUESTED
   8. The undersigned counsel recently learned the accounts receivable of In the Wind, LLC, are
subject to an existing security agreement and constitute “cash collateral” within the meaning of §
363(a) of the Bankruptcy Code. Section 363(c)(2) prohibits a debtor from utilizing cash collateral
without the consent of such party or absent Court approval.
   9. Pursuant to § 363(c)(2)(B), Debtor seeks authorization from this Court, after notice and
hearing, to use the cash collateral of Lendini pursuant to the terms and conditions encompassed
within this Court’s Order Granting Adequate Protection and Permitting Use of Cash Collateral (the
“Cash Collateral Agreement”).
   10. Debtor’s only source of cash for the continued operation of its business is operating revenue,
which is cash collateral. Debtor has an immediate need for authority to continue to use the cash
collateral in its ongoing business operations. If Debtor is not permitted to use the cash collateral, it
will have to shut down its business, thus hindering any prospects of future reorganization.
   11. The value securing the Lendini loan is valued at $160,000.00.
   12. A three (3) month budget, which is attached as Exhibit A, indicates that the Debtor anticipates
being profitable and protecting the cash collateral position of the Bank.
   13. The undersigned counsel is out of town for a yearly vacation from July 19, 2019, to July 28,
2019 and respectfully request the hearing to be set in this matter be set beyond those dates or in the
alternative that the undersigned counsel be allowed to appear by telephone.
   WHEREFORE, the Debtor respectively requests this Court to enter an Order permitting use of
cash collateral upon the terms and conditions stated herein and to grant such other and further relief
as this Court deems just and proper.
   Respectfully submitted July 18, 2019.


                                                     /s/Richard L. Collins
                                                     Richard L. Collins (ASB-8742-C66R)
                                                     Attorney for Debtor
                                                     P. O. Box 669
                                                     Cullman, AL 35056
                                                     (256) 739-1962



                                    CERTIFICATE OF SERVICE

       This is to certify that on the 18th day of July, 2019 a copy of this pleading was served by placing
a copy of the same in the U. S. Mail with postage prepaid and correctly addressed to the following:

Richard Blythe
Bankruptcy Administrator
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P. O. Box 3045
Decatur, AL 35602

20 Largest Unsecured Creditors

All parties requesting notice

                                                 /s/ Richard L. Collins
                                                 Richard L. Collins




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   EXHIBIT "A"
                             IN THE WIND, LLC
                            3 MONTH BUDGET

INCOME                           Jul-19              Aug-19           Sep-19
TRUCKING INCOME              $   190,000.00      $   200,000.00   $   210,000.00

EXPENSES
ACCOUNTING                   $         500.00    $      500.00    $       500.00
ADVERTISING                  $        2,600.00   $     2,600.00   $     2,600.00
BUILDING REPAIRS &
MAINTENANCE                  $         400.00    $      400.00    $       400.00
COMPUTER SERVICES AND
SUPPLIES                     $        1,120.00   $     1,120.00   $     1,120.00
DUES AND SUBSCRIPTIONS       $         200.00    $      200.00    $       200.00
FUEL & OIL EXPENSE           $       75,000.00   $    76,000.00   $    77,000.00
INSURANCE                    $       24,033.00   $    24,033.00   $    24,033.00
LEGAL AND PROFESSIONAL       $        2,000.00   $     2,000.00   $     2,000.00
MEMBER DRAW                  $        5,100.00   $     5,100.00   $     5,100.00
MISCELLANEOUS                $        2,000.00   $     2,000.00   $     2,000.00
OFFICE EXPENSE               $         500.00    $      500.00    $       500.00
PAYROLL - ADVANCE            $       17,200.00   $    18,200.00   $    19,200.00
PAYROLL - LEASED
EMPLOYEES                    $       11,200.00   $    11,200.00   $    11,200.00
PERMITS AND FEES             $         300.00    $      300.00    $       300.00
RENT / MORTGAGE PAYMENT      $        4,126.00   $     4,126.00   $     4,126.00
TELEPHONE                    $         400.00    $      400.00    $       400.00
TOOLS & SUPPLIES             $         600.00    $      600.00    $       600.00
TRAVEL                       $        4,000.00   $     4,000.00   $     4,000.00
TRUCK & EQUIP MAINT. &
MECH & PARTS                 $        8,500.00   $     8,500.00   $     8,500.00

TRUCK AND TRAILER RENTAL     $       15,827.00   $    15,827.00   $    15,827.00
UTILITIES                    $         800.00    $      800.00    $       800.00
TOTAL EXPENSES               $   176,406.00      $   178,406.00   $   180,406.00

NET INCOME                   $       13,594.00   $    21,594.00   $    29,594.00




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